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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

DIANE RATCLIFF             *                                      CIVIL ACTION NO.: 17-4776
                           *
VERSUS                     *                                      HON. JUDGE CARL BARBIER
                           *
WINN-DIXIE STORES, INC.    *                                      SECTION: "J"
WINN-DIXIE MONTGOMERY, LLC *
                           *                                      HON. MAG. JUDGE
                           *                                      KAREN WELLS ROBY
                           *                                      MAG.: (4)
                           *
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                                    NOTICE OF SETTLEMENT

        NOW INTO COURT, through undersigned counsel, comes Winn-Dixie Montgomery,

LLC and Winn-Dixie Stores, Inc., who respectfully submit this Notice of Settlement, and inform

the Court as follows:

        1.      Plaintiff, Diane Ratcliff and Defendants, Winn-Dixie Montgomery, LLC and Winn-

                Dixie Stores, Inc. have reached a settlement in this matter.

        2.      Plaintiff and Defendants will submit an agreed motion of dismissal with prejudice

                within 60 days.


                                        Respectfully submitted,

                                        BERNARD, CASSISA, ELLIOTT & DAVIS
                                        A Professional Law Corporation

                                        BY:      s/Caroline D. Elliott
                                                 STEPHEN N. ELLIOTT (#5326)
                                                 CAROLINE D. ELLIOTT (#28568)
                                                 3838 N. Causeway Blvd., Suite 3050
                                                 Metairie, Louisiana 70002
                                                 Telephone:      (504) 834-2612
                                                 Facsimile:      (504) 838-9438
                                                 Email: elliotts@bcedlaw.com
                                                 Email: elliottc@bcedlaw.com

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                                  CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that he has electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, which will send a copy of the foregoing pleading

to all counsel of record by notice of electronic filing. I further certify that I mailed the foregoing

document and the notice of electronic filing by first-class mail to the all non- CM/ECF participants,

this 28th day of June, 2018.

                                               s/Caroline D. Elliott
                                               CAROLINE D. ELLIOTT




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